         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR28


UNITED STATES OF AMERICA                )
                                        )
                                        )
           vs.                          )           ORDER
                                        )
                                        )
JAMES AUGUSTUS WILLIAMS                 )
                                        )


     THIS MATTER is before the Court on receipt of a CJA-24 form from

Defendant’s attorney requesting the Court authorize a transcript be

prepared at Government expense of the May 7, 2007, detention hearing of

co-Defendant Anthony David Sexton to be used in preparation for the

Defendant’s sentencing.

     Defendant entered his plea pursuant to a plea agreement during a

Rule 11 hearing held on June 4, 2007. He is currently awaiting sentencing.

     Defendants are not entitled to transcripts at Government expense

absent some showing of a particularized need. United States v.

MacCollom, 426 U.S. 317, 326-27 (1976); Miller v. Smith, 99 F.3d 120,

125 n.5 (4th Cir. 1996); United States v. Davis, 972 F.2d 342 (table),




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1992 WL 180109 (4th Cir. 1992). Defendant here as not made the

requisite showing.

     IT IS, THEREFORE, ORDERED that the Defendant’s request for the

provision of a transcript at Government expense is hereby DENIED.

                                   Signed: July 2, 2007




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